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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

       Civil Action No.        23-CV-00834-DDD-NRN

       AMY WARDLAW

              Plaintiff,

       v.

       WESTERN COLORADO REGIONAL DISPATCH CENTER, a governmental entity;
       TOWN OF OLATHE, municipality;
       DAVID PEARSON;
       ROGELIO PACHECO; and
       GEORGETTE BLACK;

              Defendants.


        REPLY IN SUPPORT OF TOWN OF OLATHE’S MOTION TO DISMISS [ECF 65] 1


             Defendant, Town of Olathe, by and through its attorneys at Nathan Dumm & Mayer P.

   C., hereby submits its Reply in support of its Motion to Dismiss, and in support states as follows:

                                              LEGAL ARGUMENT 2

             i.      Ms. Wardlaw fails to articulate how Pearson abused his authority as a

   government official.

             All parties to this suit agree that the key issue for equal protection and substantive due

   process is whether Pearson abused his authority as a government official – giving his conduct the

   necessary tinge of state action to bring it within the ambit of 42 U.S.C. § 1983. [See ECF 79, p.


   1
     The Town’s Motion to Dismiss Ms. Wardlaw’s First Amended Complaint was filed on July 31, 2023 and is found
   at ECF 65. Ms. Wardlaw’s Response to the Town’s Motion was filed on August 21, 2023 and is found at ECF 79.
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     In light of Ms. Wardlaw’s reference to and incorporation of information contained in her briefing involving other
   Defendants (See ECF 79, p. 2-6), to the extent applicable, the Town incorporates herein the replies of those
   Defendants on those arguments.
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   3]. It is functionally equivalent to the analysis of whether a government employee’s actions were

   taken “under color of state law,” as both analyses seek to determine whether conduct is purely

   private or involved the state authority held by an official.

           Ms. Wardlaw gets this analysis wrong because she argues that Pearson’s status as a

   police officer facilitated his alleged assault of her. In opposition, the Defendants explain that the

   conduct must carry with it a coercive element to render it an abuse of government power. While

   at first blush “facilitate” and “coercion” may appear to run a fine distinction, in practice the

   difference becomes obvious.

          The case that best exemplifies this important distinction is Jojola v. Chavez, which

   almost all parties cite to in their respective briefs. 55 F.3d 488 (10th Cir. 1995). In Jojola, a

   janitor employed by a school district sexually assaulted a student on campus. Id. at 490.

   Certainly, the janitor’s assault of a student was made easier because he was conferred access to

   the student body by virtue of his position. In other words, the janitor’s employment by the school

   district brought him within close proximity to students and gave him access to the campus where

   the assault occurred – therefore facilitating the assault. But despite the egregious nature of the

   incident and the janitor’s employment aiding in the assault, that was not enough to give rise to a

   constitutional violation. Instead, the Tenth Circuit held that § 1983 is only intended to deter state

   officials from ‘using the badge of their authority’ to deny citizens their federally protected

   rights.” Id. at 493. Thus, a plaintiff must show “the existence of ‘a real nexus’ between the

   defendant's conduct and the defendant's ‘badge’ of state authority…” Id. The Tenth Circuit’s use

   of the word “badge” is not meant literally, but rather in the figurative context of a state official

   flexing his authority to coerce an individual into submission.



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           The necessary “badge of authority” and “nexus” become evident in any setting where a

   government official holds specific power over a third party, such as a principal who controls a

   subordinate teacher’s employment, or a building inspector who holds the authority to determine

   whether buildings comply with the municipalities building codes. Williams v. Berney, 519 F.3d

   1216, 1223 (10th Cir. 2008); Johnson v. Martin, 195 F.3d 1208, 1211 (10th Cir. 1999). In both

   instances the government official is utilizing their state power over another to cause an injury.

   See Johnson, 195 F.3d at 1211 (“most involve attempts by Mr. Martin to obtain sexual favors in

   exchange for favorable consideration of permit applications and favorable determinations of

   compliance with city codes.”). This necessary leverage was missing in Jojola, in part because the

   plaintiff failed to plead it, but also because the janitor had no articulable authority over students,

   such as a state law conferring authority upon janitors to discipline or otherwise control students.

   He thus couldn’t leverage any state-endowed authority to accomplish the assault; rather; he

   instead committed a private tort, albeit while on duty and working for a government employer.

           This is where Ms. Wardlaw’s argument falters. Yes, Pearson had access to WestCO

   because he was a police officer, which gave him some proximity to her and the other dispatchers.

   And if the Court accepts Ms. Wardlaw’s allegations that she had to “facilitate communication

   and positive interaction” with law enforcement personnel, Pearson could develop a reason to

   speak with her about something work-related. [ECF 43, ¶ ¶ 48, 58-59]. But even accepting those

   allegations as true for purposes of this Motion, the final piece of state action is still missing,

   specifically the leveraging of Pearson’s authority as a police officer to commit the assault. If, for

   example, Pearson had ordered her to enter a specific location to commit the assault, or threatened

   that she would be arrested if she failed to comply, such an order of a police officer would likely



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   show the requisite “nexus” to his authority as a state actor. But Pearson did not do that – he

   simply talked about her personal life and other agencies’ protocols and then allegedly assaulted

   her. And while Pearson was in uniform and possessed a service weapon, Ms. Wardlaw did not

   allege – nor could she given the frequency with which she interacted with law enforcement – that

   she was forced to submit to his directives based on the mere fact that he was in uniform. Under

   those facts, Pearson’s status as a police officer may have arguably facilitated the assault, but he

   did not leverage his authority to accomplish it.

          Ms. Wardlaw attempts to create a factual dispute by noting that “asking administrative

   questions about a computer system was within Pearson’s job duties as a police officer.” [ECF 79,

   p. 5]. Even accepting that as true, that job duty carries with it no coercive means by which to

   accomplish an assault – such as in Johnson, where the state actor could provide favorable

   outcomes on building permits, but only in exchange for sexual favors, thus demonstrating a real

   nexus between state authority and injury to a third party.

          As one final comment, Ms. Wardlaw argues that the Court should largely disregard the

   Tenth Circuit’s decision in Woodward v. Worland, 977 F.2d 1392 (10th Cir. 1992) because the

   court decided the case on clearly established grounds. The Town explicitly acknowledged the

   posture of the opinion, which is beside the point. After granting qualified immunity, the Court in

   Woodward went on to articulate that in the absence of “some authority that the wrongdoer has

   over the victim…it is difficult to establish that the abusive action was perpetrated ‘under color of

   law’ rather than as an essentially private act of sexual harassment.” Id. at 1400. The Tenth

   Circuit has reaffirmed that holding in multiple cases, rendering Ms. Wardlaw’s arguments

   invalid. See Maestas v. Lujan, 351 F.3d 1001, 1012 (10th Cir. 2003) (“Ms. Maestas may recover



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   in her § 1983 claim if Mr. Lujan either (1) was her supervisor or (2) exercised state authority

   over her.”); Apgar v. State, 221 F.3d 1351, at *9 (10th Cir. 2000) (holding same) (unpublished). 3

            Because Ms. Wardlaw’s Amended Complaint continues to lack any allegations

   demonstrating the required nexus between Pearson’s authority as a police officer and his alleged

   assault of her, he cannot be liable on equal protection or due process grounds and so the claims

   against the Town must be dismissed.

            ii.      For similar reasons, Ms. Wardlaw cannot sustain a Fourth Amendment claim.

            With respect to her Fourth Amendment claim, the majority of briefing to date has focused

   on whether Pearson was acting pursuant to his law enforcement authority when he allegedly

   assaulted Ms. Wardlaw. Yet that is only part of the inquiry, with the remaining question being

   whether the allegations in the Amended Complaint give rise to an inference that Pearson was

   attempting to "seize Plaintiff’s movements through means intentionally applied.” [ECF 65, p.

   10]. Ms. Wardlaw never addresses this requirement, instead simply focusing on the fact that a

   seizure may occur even in the absence of a law enforcement motive. [ECF 79, p. 5].

            Yet it cannot be true that anytime a government official touches a private citizen the

   Fourth Amendment is implicated. Indeed, a law enforcement agent who taps a person on the

   shoulder to get their attention is certainly applying force to that individual, but no court would

   deem that contact subject to the Fourth Amendment, principally because there is no objective

   manifestation of intent to restrain that individual’s freedom of movement. See Martinez v.

   Nygaard, 831 F.2d 822, 826 (9th Cir. 1987) (holding Fourth Amendment was not implicated


   3
     Ms. Wardlaw also cites Hess v. Garcia, 72 F.4th 753, 758 (7th Cir. 2023), yet the defendant in that case did not
   raise an argument to the Seventh Circuit regarding whether his conduct was under color of state law or otherwise
   infused with his state authority. It should thus come as no surprise that the Seventh Circuit did not pass upon that
   issue.


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   when agent tapped plaintiff on the shoulder) (citing I.N.S. v. Delgado, 466 U.S. 210, 218-19

   (1984)). Obviously, the allegations in this case are far more serious, an alleged sexual assault,

   but the analysis remains the same: does Pearson’s conduct evidence an objective manifestation

   of intent to restrain or take Ms. Wardlaw into custody? The answer is obviously no, as his intent,

   according strictly to the allegations in the Amended Complaint, was to grope Ms. Wardlaw.

   [ECF 43, ¶ 63].

          A federal district court in Oregon considered similar circumstances in Keyes v.

   Washington County, where a county employee charged with supervising convicts in a

   community-service program allegedly groped the plaintiff. No. 3:15-cv-1987-AC, 2017 WL

   3446256, at *3 (D. Or. Aug. 10, 2017). In analyzing the plaintiff’s ensuing claim under the

   Fourth Amendment, the court held that no “seizure” occurred because the alleged contact, i.e.,

   groping, did not evidence any objective purpose other than the “initiat[ion] of unwanted sexual

   contact.” Id. at *4. Instead, “[f]or a Fourth Amendment seizure to occur through physical

   contact, there must be restriction on freedom of movement beyond the instant of physical

   contact.” Id. The mere “instant of the touching alone” does not trigger the Fourth Amendment.

   Id.

          While Ms. Wardlaw may protest that a district court decision from Oregon is not

   dispositive over this case, it is worth noting that the U.S. Supreme Court reaffirmed this basic

   tenet of Fourth Amendment jurisprudence in Torres v. Madrid, which Ms. Wardlaw has cited

   frequently in this case. [See ECF 76, p. 8; ECF 79, p. 6]. While the Court held in Torres that “the

   slightest touch” could implicate the Fourth Amendment, it also stated that “[w]e stress, however,

   that the application of the common law rule does not transform every physical contact between a



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   government employee and a member of the public into a Fourth Amendment seizure. A seizure

   requires the use of force with intent to restrain.” 141 S. Ct. 989, 998 (2021) (emphasis in

   original). Thus, “force intentionally applied for some other purpose [will not] satisfy this rule.”

   Id.

          Reading the Amended Complaint in its entirety does not reveal any allegations that

   would give rise to an objective intent of Pearson to restrain Ms. Wardlaw. Rather, he allegedly

   groped and then released her. Under the rule affirmed in Torres, and as specifically applied in

   Keyes, Pearson’s alleged conduct does not give rise to Fourth Amendment liability.

                                            CONCLUSION

          Because Pearson’s conduct does not give rise to constitutional liability under either the

   Fourth or Fourteenth Amendments, the Town cannot be liable under Monell, and for all of the

   reasons set forth in the Town’s Motion, this reply, and the pertinent briefing of other Defendants,

   the Town must be dismissed, with prejudice.



   DATED this 5th day of September, 2023.

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          I hereby certify that the foregoing pleading complies with the type-volume limitation set

   forth in Judge Domenico’ s Practice Standard III(A)(1).



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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 5th day of September, 2023 I electronically filed the foregoing
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   the CM/ECF system which will send notification of such filing to the following:

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